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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
                                   CAMDEN DIVISION

THEODORE G. EIFERMAN, Individually,

               Plaintiffs,
vs.
                                                             Case No.
SPRING HILL REALTY CO NJ L.P., a New
Jersey Limited Partnership,

               Defendant(s).




                                         COMPLAINT

       Plaintiff, THEODORE G. EIFERMAN, Individually, on his behalf and on behalf of all

other mobility impaired individuals similarly situated, (sometimes referred to as "Plaintiff' or

"Plaintiffs"), hereby sue the Defendant(s), SPRING HILL REALTY CO NJ L.P., a New Jersey

Limited Partnership, (sometimes referred to as "Defendants"), for Injunctive Relief, damages,

attorney's fees, litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42

U.S.C. § 12181 et seq. ("ADA") and the New Jersey Law Against Discrimination (N.J.S.A.).



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                                  COUNT I
                        VIOLATION OF TITLE III OF THE
              AMERICANS WITH DISABILITIES ACT. 42 USC S 12181. etsea.

1.       Plaintiff, Theodore G. Eiferman, is an individual residing at 2150 Route 38, Apt. 154W,

         Cherry Hill, NJ 08002, in the County of Camden.

2.       Defendant, SPRING HILL REALTY CO NJ L.P. holds title to the subject property

         alleged by the Plaintiff to be operating in violation ofTitle III of the ADA.

3.       Defendant's property, Princeton Place is located at 3747 Church Road, Mount Laurel, NJ

         08054.

4.       Venue is properly located in the District of New Jersey because venue lies in the judicial

         district of the property situs. The Defendant's property is located i n and does business

         within this judicial district.

5.       Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

         jurisdiction over actions which arise from the Defendant's violations of Title III of the

         Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201

         and § 2202.

6.       Plaintiff, Theodore G. Eiferman is a New Jersey resident, is sui juris, and qualifies as an

         individual with disabilities as defined by the ADA. Mr. Eiferman suffers from acute

         peripheral neuropathy, which condition requires him to use a wheelchair to ambulate.

         Mr. Eiferman has visited the subject property which forms the basis of this lawsuit on

         numerous occasions and plans to return to the property in the near future to avail himself

         of the goods and services offered to the public at the property.         The Plaintiff has

         encountered architectural barriers at the subject property. The barriers to access at the




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         property have endangered his safety.

7.       Defendant owns , leases, (or le ases to), or ope rates a place o f public accommodation as

         defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and

         36.104. Defendant is responsible for complying with the obligations of the A DA. The

         place of public accommodation that the Defendant owns, leases, (or leases to), or

         operates is known as Princeton Place, and is located at 3747 Church Road, Mount Laurel,

         NJ 08054.

8.       THEODORE G. EIFERMAN has a real istic, credible, existing and cont inuing threat of

         discrimination from th e Defendant's non-compliance with the A DA with respect to the

         subject prop erty as des cribed but no t necessarily limited to the allegations in par agraph

         10 of this complaint. Plaintiffs have reasonable grounds to believe that they will continue

         to be subjected to discrimination in violation of the ADA by the Defendant. Theodore G.

         Eiferman desir es to visit Princeton Place, not only to avail himself of the good s and

         services available at the property but to assure himself that this property is in compliance

         with the ADA so that he and others similarly situated will have full and equal enjoyment

         of the property without fear of discrimination.

9.       The Defendant has discriminated against the Plaintiff by denying him access to, and full

         and equal enjoyment of, the goods, services, facilities, privileges, advantages and/or

         accommodations of the buildings, as prohibited by 42 U.S.C. § 12182 et seq.

10.      The De fendant has disc riminated, and conti nue to dis criminate, aga inst the Pla intiff in

         violation of the AD A by failin g to, inter alia, have accessible facilities by Jan uary 26,

         1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of

         $500,000 or less). A preliminary inspection of Princeton Place has shown that violations



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    exist. These violations that Theodore G. Eiferman personally encountered or observed

    include, but are not limited to:

     Parking and Exterior Accessible Route

 a) Parking spaces throughout Princeton Place are not maintained, contain slopes beyond
    limits within parking spaces and lack compliant accessible routes from accessible
    parking, violating Sections 402 and 502 of the 2010 Accessibility Standards. These
    conditions during numerous visits prevented Mr. Eiferman from unloading from his van
    freely and safely.

 b) Princeton Place fails to provide the required amount of compliant accessible parking
    spaces, violating Section 502 of the 2010 Accessibility Standards. The lack of accessible
    parking makes Mr. Eiferman park in open areas so he can unload freely and safely from
    his van.

 c) Curb ramps provided to access stores at Princeton Place are unsafe for wheelchair users
    and are not provided in some areas of the center. The curb ramps contain excessive
    slopes, abrupt changes of level and lack level landings, violating Sections 402 and 406 of
    the 2010 Accessibility Standards. These conditions are unsafe for Mr. Eiferman when he
    accesses the curb ramps.

 d) The exterior accessible route from parking spaces and throughout Princeton Place fails to
    provide a safe accessible route, violating Section 402 of the 2010Accessibility Standards.
    Mr. Eiferman was forced to travel in the traffic area of the center to get to the curb ramp
    and had to deal with cross slopes and/or abrupt changes of level greater than VA inch while
    accessing tenants.
 e) Princeton Place fails to provide a safe accessible route to the adjacent bus stop, street or
    sidewalk, violating Section 206.2.1 of the 2010 Accessibility Standards. The lack of a
    compliant accessible route prevents the option of public transportation for Mr. Eiferman.

    Access to Goods and Services

 f) Payment counters throughout Princeton Place including Salons and Restaurants are
    mounted beyond the reach of Mr. Eiferman, violating Sections 308 and 904 of the 2010
    Accessibility Standards.

 g) Tony Soprano's Pizza and Dasiwa Sushi fails to provide accessible dining tables for
    those in wheelchairs, violating Section 902 of the 2010 Accessibility Standards. Mr.
    Eiferman was unable to dine comfortably due to a lack of accessible tables.

 h) Entering tenants is impeded by a lack of maneuvering space, slopes beyond limits and/or
    abrupt changes of level at the base, violating Section 404 of the 2010 Accessibility
    Standards. Abrupt changes of level and slopes can cause damage to Mr. Eiferman's
    wheelchair. Mr. Eiferman was unable to fit in some doors do to a lack of accessibility.



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         Restrooms

      i) Restrooms at Princeton Place including Tony Soprano's Pizza, Dasiwa Sushi Beauty Plus
         Nails and Shear Elegance Hair Salon were reported to be unsafe for use by the plaintiff.
         Inspection revealed Mr. Eiferman was unable to u se the restrooms safely due to a lack of
         accessibility. Including, inaccessible water closets which lack proper controls and
         wheelchair maneuvering space violating Section 601 of the2010 Accessibility Standards.

      j) Restrooms at Tony Soprano's Pizza, Dasiwa Sushi Beauty Plus Nails and Shear Elegance
         Hair Salon provide dispensers beyond reach of wheelchair users and are inaccessible to
         the plaintiff, violating Section 308 of the 2010 Accessibility Standards.

      k) Lavatories at Tony Soprano's Pizza, Dasiwa Sushi Beauty Plus Nails and Shear Elegance
         Hair Salon lack knee clearance and accessibility preventing the plaintiff from freely
         accessing the lavatory, violating Section 606 the 2010 AccessibilityStandards.

      1) Tony Soprano's Pizza, Dasiwa Sushi Beauty Plus Nails and Shear Elegance Hair Salon
         provides restrooms that contain improper centerlines for the water closets and flush
         controls mounted on the wall side, violating Section 604 of the 2010 Accessibility
         Standards. Mr. Eiferman was unable to access flush controls while in the restrooms due
         to improper location.

      m) Using restrooms doors at Tony Soprano's Pizza, Dasiwa Sushi Beauty Plus Nails and
         Shear Elegance Hair Salon is impeded by round door knobs, improper signage and a lack
         of maneuvering clearance, violating Section 404 of the 2010 Accessibility Standards.
         Round door knobs, stored goods and maneuvering space impede Mr. Eiferman from
         easily accessing doors.

         Maintenance

      n) The accessible features of the facility are not maintained, creating barriers to access for
         the Plaintiff, as set forth herein, in violation of 28 CFR 36.211.

11.      All of the foregoing violations are also violations of the 1991 Americans with Disabilities

         Act Accessibility Guidelines (ADAAG), and the 2010 Standards for Accessible Design,

         as promulgated by the U.S. Department of Justice.

12.      The discriminatory violations described in paragraph 10 are not an exclusive list of the

         Defendant's ADA violations. Plaintiff requires the inspection of the Defendant's place of

         public accommodation in order to photograph and measure all of the discriminatory acts




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      violating the ADA and all of the barriers to access. Plaintiff and all other individuals

      similarly situated, have been denied access to, and have been denied the benefits of

      services, programs and activities of the Defendant's buildings and its facilities, and have

      otherwise been discriminated against and damaged by the Defendant because of the

      Defendant's ADA violations, as set forth above. Plaintiff and all others similarly situated

      will continue to suffer such discrimination, injury and damage without the immediate

      relief provided by the ADA as requested herein. In order to remedy this discriminatory

      situation, the Plaintiff requires an inspection of the Defendant's place of public

      accommodation in order to determine all of the areas of non-compliance with the

      Americans with Disabilities Act.

13.   Defendant has discriminated against the Plaintiff by denying him access to the full and

      equal enjoyment of the goods, services, facilities, privileges, advantages and/or

      accommodations of its place of public accommodation or commercial facility in violation

      of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et sea. Furthermore, the Defendant

      continues to discriminate against the Plaintiff, and all those similarly situated, by failing

      to make reasonable modifications in policies, practices or procedures, when such

      modifications are necessary to afford all offered goods, services, facilities, privileges,

      advantages or accommodations to individuals with disabilities; and by failing to take such

      efforts that may be necessary to ensure that no individual with a disability is excluded,

      denied services, segregated or otherwise treated differently than other individuals because

      of the absence of auxiliary aids and services.

14.   Plaintiff is without adequate remedy at law and is suffering irreparable harm.

      Considering the balance of hardships between the Plaintiff and Defendant, a remedy in



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      equity is warranted. Furthermore, the public interest would not be disserved by a

      permanent injunction.

15.   Plaintiff has retained the undersigned counsel and is entitled to recover attorney's fees,

      costs and litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28

      CFR 36.505.

16.   Defendant is required to remove the existing architectural barriers to the physically

      disabled when such removal is readily achievable for its place of public accommodation

      that have existed prior to January 26,1992, 28 CFR 36.304(a); in the alternative, if there

      has been an alteration to Defendant's place of public accommodation since January 26,

      1992, then the Defendant is required to ensure to the maximum extent feasible, that the

      altered portions of the facility are readily accessible to and useable by individuals with

      disabilities, including individuals who use wheelchairs, 28 CFR 36.402; and finally, if the

      Defendant's facility is one which was designed and constructed for first occupancy

      subsequent to January 26, 1993, as defined in 28 CFR 36.401, then the Defendant's

      facility must be readily accessible to and useable by individuals with disabilities as

      defined by the ADA.

17.   Notice to Defendant is not required as a result of the Defendant's failure to cure the

      violations by January 26,1992 (or January 26, 1993, if Defendant has 10 or fewer

      employees and gross receipts of $500,000 or less). All other conditions precedent have

      been met by Plaintiff or waived by the Defendant.

18.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

      Injunctive Relief, including an order to require the Defendant to alter Princeton Place to

      make its facilities readily accessible and useable to the Plaintiffs and all other persons




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      with disabilities as defined by the ADA; or by closingthe facility until such time as the

      Defendant cures its violations of the ADA. The order should further request the

      Defendant to maintain the required accessible features on an ongoing basis.

      WHEREFORE, Plaintiff respectfully request:

19.   The Court issue a Declaratory Judgment that determines that the Defendant at the

      commencement of the subject lawsuit is in violation ofTitle III of the Americans with

      Disabilities Act, 42 U.S.C. § 12181 et seq.

20.   Injunctive relief against the Defendant including an order to make all readily achievable

      alterations to the facility; or to make such facility readily accessibleto and usable by

      individuals with disabilities to the extent required by the ADA; and to require the

      Defendant to make reasonable modifications in policies, practices or procedures, when

      such modifications are necessary to afford all offered goods, services, facilities,

      privileges, advantages or accommodations to individuals with disabilities; and by failing

      to take such steps that may be necessary to ensure thatno individual with a disability is

      excluded, denied services, segregated or otherwise treated differently than other

      individuals because of the absence of auxiliary aids and services.

21.   An award of attorney's fees, costs and litigation expenses pursuant to 42 U.S.C. § 12205.

22.   Such other relief as the Court deems just and proper, and/or is allowable under Title III of

      the Americans with Disabilities Act.

                              COUNT II
         VIOLATION OF NEW JERSEY LAW AGAINST DISCRIMINATION

23.   Plaintiff re-alleges all prior obligations as if fully set forth herein. Plaintiff repeats the

      allegations contained in all of the proceeding paragraphs.

24.   Defendant's facility is a place of public accommodation as defined by N.J.S.A.10:5-5,



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        (New Jersey Law against Discrimination).

25.     New Jersey law provides that all persons shall have the opportunity to obtain all the

        accommodations, advantages, facilities and privileges of any placeof public

        accommodation without discrimination on the basis of disability. This opportunity is

        recognized and declared to be a civil right. (See, N.J.S.A. 10:5-4.)

26.     As a result of the aforementioned discrimination, Plaintiff, Theodore G. Eiferman has

        sustained emotional distress, mental anguish and suffering and humiliation, and other

        injuries, in violation of the New Jersey Law Against Discrimination.

        WHEREFORE, Theodore G. Eiferman demands judgment for injunctive relief,

damages, attorneys' fees, litigation expenses, including expert fees and costs pursuant to the New

Jersey Law Against Discrimination.

Date:   /Ifwpft.-aDn                          Respectfully


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                                     Braff, Harris, Sukoneck & Maloof

Whole word search for: PRINCETON near PLACE
PRINCETON near PLACE found in 0 records




JR                                                                               Friday 05/24/2019 10:23 am
Date: 05/24/2019                     Conflict
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Whole word search for: SPRING near HILL near REALTY near CO near NJ near LP
SPRING near HILL near REALTY near CO near NJ near LP found in 0 records




JR                                                                               Friday 05/24/2019 10:23 am
